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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

               v.                                          CRIMINAL NO.         19CR10082-DPW

 XIAONING SUI,
          Defendant.

                                 PROCEDURAL ORDER
                    RE: SENTENCING HEARING (In the light of U.S. v.Booker.)

Woodlock, D.J.

        A plea of guilty having been entered on February 21, 2020, under the Sentencing Reform Act of
1984, it is hereby ORDERED:

Pre-sentence Investigation

       1.     a)      The United States Probation Office shall commence immediately the pre-sentence
              investigation unless as provided in Fed. R. Crim. Pro. Rule 32(i), the court finds under
              Rule 32 (c) (1)(A) and (B) that the information in the record enables it to exercise its
              sentencing authority meaningfully under 18 U.S.C. ' 3553 and the court explains this
              finding on the record.

              b)      The Probation Office shall prepare pre-sentence investigation reports in the order
              in which the requests from the court are received.

Statement of Relevant Facts

       2.     Not later than seven days after the plea or verdict or on February 28, 2020, the attorney
              for the government shall provide to the United States Probation Office a statement of
              relevant facts and any other documents pertinent under Federal Rules of Criminal
              Procedure 32 (d) and shall simultaneously serve on counsel for the defendant a copy of
              everything provided to the Probation Office.

Submission of Information Regarding Identifiable Victims (if applicable)

       3.     Not later than seven days after the plea or verdict or on February 28, 2020, the attorney
              for the government shall provide to the United States Probation Office a written statement
              setting forth the names of the victims, their contact information/addresses, and the amount
              of loss sustained by each victim/restitution owed to each victim pursuant to the Federal
              Rules of Criminal Procedure, Rule 32(c)(1)(B).
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Interview of Defendant

       4.     The Probation Office shall provide a reasonable opportunity for defense counsel to attend
              any interview of the defendant conducted by a probation officer during the pre-sentence
              investigation.

              a)      If the case is resolved by a plea, and the Probation Office has timely notification
              of the plea, it shall hold an interview with the defendant on the day of the plea. If an
              interview cannot be held on the day of the plea, the Probation Office shall schedule an
              interview to be held within seven days after the plea or within such additional time as the
              court may order.

              b)      If the case is resolved by a verdict, the Probation Office shall schedule an
              interview with the defendant to be held within seven days after the verdict or within such
              additional period of time as the court may order.

              c)       If the defendant is in custody, the United States Marshal shall, at the request of
              the Probation Office, bring the defendant to the courthouse for an interview at the earliest
              feasible time.

Pretrial Services Responsibility

       5.     Pretrial Services shall provide to the Probation Office all documents in the possession of
              Pretrial Services that may be relevant to the pre-sentence investigation, including a copy
              of the Pretrial Report, the defendant=s state, local, and national criminal record, police
              reports, copies of convictions, drug test results, reports of incidents, and other reports and
              supporting documents.

Date of Sentencing

       6.     The sentencing hearing is scheduled to occur at 2:30 p.m. on Tuesday, May 19, 2020, in
              Courtroom 1 on the 3rd floor. This date is to be not sooner than twelve weeks after the
              date of the plea/verdict, in order to permit the following:

              a)      Probation Office shall have seven weeks after the date of plea/verdict for the
              preparation and disclosure of the initial report.

              b)     Probation Office shall disclose the initial report to defense counsel and
              government counsel no less than five weeks before the sentencing hearing, unless the
              defendant expressly waives the minimum five week pre-sentencing notification period.

              c)       The date when disclosure has been effected to each attorney is the date of the
              mailing of a copy to that attorney. An attorney may, in lieu of receiving disclosure by
              mail, make arrangements with the Probation Office to pick up the report no later than 3:00
              p.m. on the date disclosure is due. It is the responsibility of the defense counsel to
              disclose the pre-sentence report to the defendant and to discuss it with and explain it to the
              defendant.

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Objections Procedure

      7.     Within fourteen days after disclosure of the report, attorneys for the government and
             the defendant shall advise the probation officer and each other in writing, of any
             objections they may have as to any material information, sentencing classifications,
             sentencing guideline ranges, or policy statements contained in or omitted from the report.

      8.     The probation officer shall conduct any further investigation and make any revisions to the
             pre-sentence report that may be necessary. The probation officer may require counsel for
             both parties to confer with the probation officer to identify and attempt to resolve any
             factual or legal disputes which may require hearing by the court.

Final Pre-sentence Report

      9.     Not later than May 12, 2020, (which is a date not less than seven days before the
             sentencing hearing), the probation officer shall submit to the court and disclose to the
             attorneys the final pre-sentence report, including any addendum, setting forth the
             unresolved objections, the grounds for these objections and the probation officer=s
             comments on the objections. The probation officer shall certify that the contents of the
             report, including any revisions, and the addendum have been disclosed to the defendant
             and to counsel for the defendant and the government, and that the addendum fairly states
             any remaining unresolved objections. Except with regard to any unresolved objections,
             the report of the pre-sentence investigation may be accepted by the court as accurate. The
             court, however, for good cause shown, may allow a new objection to the pre-sentence
             report to be raised at any time before the imposition of sentence.

Hearing and Counsel=s obligations

      10.    The Court is to hold a sentencing hearing to resolve any disputed issues.

             a)     Obligations of Counsel: Not less than seven days before the sentencing hearing
             [or such other time as set by the court]

                    (1)     Notice: Counsel are to advise the Court:

                            (a)     whether either party will move for a departure from the applicable
                                    guideline range or will move for a non guideline sentence;

                            (b)     whether apart from (a), there are legal questions not adequately
                                    addressed in the presentence report or not addressed at all;

                            (c)     whether there are factual issues which the party contend require an
                                    evidentiary hearing.



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                     (2)   Memorandum:             Counsel submit a memorandum outlining the legal
                           and factual issues implicated in (1) above. Counsel are also urged to draft
                           memoranda in the form of proposed findings of fact and conclusions of law
                           relevant to the issues described above.

                     (3)   Service on Probation:        A copy of the memorandum and any
                           submissions addressing sentencing issues submitted by counsel must also
                           be provided to the probation officer five days in advance of the sentencing
                           hearing.

      11.    The schedule set forth in this Order may be modified by the Court for good cause shown.

      12.    Disclosure of the pre-sentence report is made under the provisions of Rule 32, Fed. R.
             Crim. Pro., except that the Probation Office shall not disclose any recommendation it
             made to the court as to sentence. Any such recommendation made to the court by the
             Probation Office must not contain factual information not already disclosed to both
             counsel and to the defendant.


February 21, 2020                                  /s/ Douglas P. Woodlock
DATE                                             UNITED STATES DISTRICT JUDGE



cc:   Counsel
      Probation Office
      Pretrial Services




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